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                             15                             UNITED STATES BANKRUPTCY COURT
                                                            NORTHERN DISTRICT OF CALIFORNIA
                             16                                  SAN FRANCISCO DIVISION

                             17
                                                                          Bankruptcy Case No. 19-30088 (DM)
                             18                                           Chapter 11
                                   In re:
                             19                                           (Lead Case) (Jointly Administered)
                                   PG&E CORPORATION,
                                                                           NOTICE OF ENTRY OF ORDER SHORTENING
                             20                                            TIME AND NOTICE OF HEARING ON DEBTORS’
                                          - and -
                                                                           MOTION FOR ENTRY OF AN ORDER
                             21                                            (I) APPROVING TERMS OF, AND DEBTORS’
                                   PACIFIC GAS AND ELECTRIC
                                                                           ENTRY INTO AND PERFORMANCE UNDER,
                             22    COMPANY,
                                                                           AMENDED EQUITY BACKSTOP COMMITMENT
                                                                           DOCUMENTS AND (II) AUTHORIZING
                             23                                   Debtors. INCURRENCE, PAYMENT AND ALLOWANCE OF
                                                                           RELATED PREMIUMS AS ADMINISTRATIVE
                             24     Affects PG&E Corporation              EXPENSE CLAIMS
                                    Affects Pacific Gas and Electric
                             25    Company                                 Date: June 16, 2020
                                    Affects both Debtors                  Time: 10:00 a.m. (Pacific Time)
                             26                                            Place: (Telephonic or Video Appearances Only)
                                   * All papers shall be filed in the Lead        United States Bankruptcy Court
                             27    Case, No. 19-30088 (DM).                       Courtroom 17, 16th Floor
                                                                                  San Francisco, CA 94102
                             28
                                                                          Objection Deadline: June 15, 12:00 p.m. (Pacific Time)


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                                                                            3
 1           PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession (the
 2   “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a voluntary
     petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
 3   with the United States Bankruptcy Court for the Northern District of California (San Francisco
     Division) (the “Bankruptcy Court”).
 4

 5           PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
     June 16, 2020, at 10:00 a.m. (Pacific Time) (the “Hearing”) before the Honorable Dennis Montali,
 6   United States Bankruptcy Judge. Pursuant to the Bankruptcy Court’s Third Amended General Order
     No. 38 In re: Coronavirus Disease Public Health Emergency, dated May 28, 2020, the Hearing will
 7   be conducted by telephone or video conference. The courtroom will be closed. All interested
     parties should consult the Bankruptcy Court’s website at www.canb.uscourts.gov for information
 8
     about court operations during the COVID-19 pandemic. The Bankruptcy Court’s website provides
 9   information regarding how to arrange a telephonic or video appearance. If you have any questions
     regarding how to appear at a court hearing, you may contact the Bankruptcy Court by calling 888-
10   821-7606 or by using the Live Chat feature on the Bankruptcy Court’s website.
11          PLEASE TAKE FURTHER NOTICE that, in addition to any other matters to be heard at
     the Hearing, the Bankruptcy Court is scheduled to hear, pursuant to an order shortening time entered
12
     on June 9, 2020 [Dkt. No. 7863] (the “Order Shortening Time”), the Debtors’ Motion for Entry of
13   an Order (i) Approving Terms of, and Debtors’ Entry into and Performance Under, Amended Equity
     Backstop Commitment Documents and (ii) Authorizing Incurrence, Payment and Allowance of
14   Related Premiums as Administrative Expense Claims filed by the Debtors on June 9, 2020 [Dkt.
     No. 7848] (the “Motion”).
15

16            PLEASE TAKE FURTHER NOTICE that, pursuant to the Order Shortening Time, any
     oppositions or responses to the Motion must be in writing, filed with the Bankruptcy Court, and
17   served on the counsel for the Debtors at the above-referenced addresses so as to be received by no
     later than 12:00 p.m. (Pacific Time) on June 15, 2020. Any oppositions or responses must be filed
18   and served on all “Standard Parties” as defined in, and in accordance with, the Second Amended
     Order Implementing Certain Notice and Case Management Procedures entered on May 14, 2019
19   [Dkt No. 1996] (the “Case Management Order”). Any relief requested in the Motion may be
20   granted without a hearing if no opposition is timely filed and served in accordance with the
     Case Management Order. In deciding the Motion, the Court may consider any other document
21   filed in these Chapter 11 Cases and related Adversary Proceedings.

22            PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting papers
     can be viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov,
23   (ii) by contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
     94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC , at
24
     https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
25   parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
     Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.
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                                               3
     Dated: June 9, 2020
 1
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                                       CRAVATH, SWAINE & MOORE LLP
 2
                                       KELLER BENVENUTTI KIM LLP
 3
                                        /s/ Thomas B. Rupp
                                        Thomas B. Rupp
 4

 5                                      Attorneys for Debtors and Debtors in Possession

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